                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                 1:07cr02-02


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )              ORDER
                                                  )
MELISSA J. SMITH,                                 )
                                                  )
                 Defendant.                       )
__________________________________                )


       THIS CAUSE coming on to be heard and being heard before the undersigned, upon

a motion made by the Government to continue the Rule 11 proceeding in regard to the above

referenced matter. It appearing to the court from arguments of Donald Gast, United States

Attorney, that the defendant’s attorney, Walter E. Daniels, III could not be available for the

Rule 11 proceeding that was scheduled for January 17, 2007. It is therefore ordered, based

upon good cause shown, that the above entitled matter be continued.

                                          ORDER

       WHEREFORE, IT IS ORDERED that the above entitled matter be continued until

a time established by the Clerk.



                                              Signed: January 23, 2007




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